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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    IN RE:                                                                         Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                                               Case No. 15-23007 (RDD)
    COMPANY, Inc., et al.,1
                                                                                   (Jointly Administered)
                                   Debtors.

    THE GREAT ATLANTIC & PACIFIC TEA
    COMPANY, INC. et al.

                                   Plaintiff,

             v.                                                                      Adv. Proc. No. 18-08245 (RDD)

    PEPSICO, INC, et al,

                                   Defendants.


         ORDER DENYING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
        ON COUNTS ONE THROUGH FOUR AND PARTIAL SUMMARY JUDGMENT
        ON COUNTS FIVE THROUGH TWENTY-FIVE OF THE SECOND AMENDED
                          ADVERSARY COMPLAINT

           Upon the Defendants’ Motion for Summary Judgment on Counts One Through Four and

Partial Summary Judgment on Counts Five Through Twenty-Five [Dkt. Nos. 32—36] (the

“Motion”); and the Court having considered the Motion, the Plaintiff’s opposition to the Motion,

the Defendants’ reply to said opposition and the arguments of counsel concerning the Motion at



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are as follows: 2008
Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company, Inc. (0974); A&P Live Better, LLC (0799); A&P Real Property, LLC
(0973); APW Supermarket Corporation (7132); APW Supermarkets, Inc. (9509); Borman’s, Inc. (9761); Delaware County Dairies, Inc. (7090);
Food Basics, Inc. (1210); Kwik Save Inc. (8636); McLean Avenue Plaza Corp. (5227); Montvale Holdings, Inc. (6664); Montvale-Para Holdings,
Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge LLC (5965); Shopwell, Inc.(3304); Super Fresh Food Markets, Inc.
(2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods of Conn., Inc. (5748); and Waldbaum, Inc. (8599). The international
subsidiaries of The Great Atlantic & Pacific Tea Company, Inc. are not debtors in these chapter 11 cases. The location of the Debtors’ corporate
headquarters is 19 Spear Road, Suite 310, Ramsey, New Jersey 07446.




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the hearing before the Court on December 17, 2019 (“Hearing”); and after due deliberation

thereon and for the reasons set forth by the Court in its bench ruling at the Hearing,

IT IS HEREBY ORDERED THAT:

   1.   The Motion is denied.

   2.   This Court retains exclusive jurisdiction with respect to all matters arising from or related

to the implementation, interpretation and enforcement of this Order.



Dated: December 30, 2019
       White Plains, New York


                                              /s/ Robert D. Drain____________________
                                              THE HONORABLE ROBERT D. DRAIN
                                              UNITED STATES BANKRUPTCY JUDGE




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